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                                                                                      April 9, 2021
VIA ECF

The Honorable Lorna G. Schofield
United States District Court for the Southern District of New York
40 Foley Square
New York, NY 10007
       Jane Doe, et al. v. Trump Corp., et al., 1:18-cv-9936 (LGS)
Dear Judge Schofield:
       We write on behalf of the parties in the above-referenced action, pursuant to this Court’s
October 28, 2020 Order (Doc. No. 293 (the “October 28 Order”)), to provide the Court with an
update on the status of appellate proceedings before the United States Court of Appeals for the
Second Circuit.
       The Second Circuit took the case under submission on December 1, 2020, following oral
argument before Judges Sack, Chin, and Lohier. (2d Cir. Doc. No. 227.) At the close of argument,
the panel ordered that “the stay will remain in place until we vacate it.” (Hrg. Audio at 37:40 to
37:50, available at https://www.ca2.uscourts.gov/oral_arguments.html (Chin, J., presiding).) The
Second Circuit has not taken further action since that time.
       The parties will continue to file joint letters updating the Court on the status of appellate
proceedings at least every 60 days until the Second Circuit issues a decision on the merits of the
consolidated appeals.
                                                       Respectfully submitted,
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